Case 2

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David J. Kaminski (SBN 128509)
Karninskid @cmtl aw. com
J. Grace Fe Cm}t)le (SBN 190893)
Feli CAI}€e §c law com

L N & MESSER LLP
5959 W. Century Boulevard Suite 1214 § c §
Los An el es California 90045 ,, “"
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310 242- 2222 Facslmile ~W

Attornes for Defendant
MIDLA CREDIT MANAGEMENT, INC.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 
  

HILARY JoNEs, and individuai, CASE N. ‘

Plaintiff,
vs. NOTICE OF REMOVAL
MIDLAND CREDIT
ll\/l§l$NAGEMENT, INC., and DOES
Defendant.

 

DEFENDANT’S NOTICE OF REMOVAL

Defendant MIDLAND CREDIT MANAGEMENT, INC. hereby files this

notice of removal under 28 U.S.C. §1446(a).
A. INTRGDUCTI()N

l. Defendant is MIDLAND CREDIT MANAGEMENT, INC.
(“Defendant”); Plaintiff is HlLARY JONES (“Plaintiff”).

2. Upon information and belief, Plaintiff initially filed this case on
September 27 , 2012, in the Superior Court of California, County of Ventura, Case
No. 56~2012-00425076~CL-PO-VTA. A true and correct copy of PlaintifF s

original Sumrnons and Cornplaint is attached hereto as Exhibit “A”.
/ / /

Notice of Removal
07297.00/189059

 

CARLSGN&',MESSERLLP
5959 W BENTLIRY BcluLEvARD Sul'rE 1214

Lns ANGE:Lr-:S, DAL\F\:)RN|A 90045

Case 2

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3. On October 15, 2012, Defendant was personally served With the
Summons and a copy of Plaintiffs Complaint (See Declaration of Sany Chay in
Support of Notice of Removal, filed concurrently herewith).

4. As Defendant received Plaintiff’s Complaint on October 15, 2012,
Defendant files this notice of removal Within the 30-day time period required by 28
U.S.C. §1446(b), and as extended via FRCP 6. See Wells v. Gateways Hosp. &
Mental Health Ctr., 1996 U.S. App. LEXIS 2287 at *2 (9th Cir. Cal. Jan. 30, 1966).

B. BASIS FOR REMOVAL

5. Removal is proper because Plaintiffs Complaint involves a federal
question 28 U.S.C. §§1331, 144l(b); Long v. Bana'o Mfg. ofAm., Inc., 201 F.3d
754, 757-58 (6th Cir. 2000); Peters v. Um°on Pac. R.R., 80 F.3d 257, 260 (8th Cir.
1996). Speciflcally, Plaintiff has alleged claims that arise under 15 U.S.C. § 1692,
et seq., for alleged violation of the Fair Debt Collection Practices Act.

6. “Where it appears from the bill or statement of the plaintiff that the
right to relief depends upon the construction or application of the Constitution or
laws of the United States, and that such federal claim is not merely colorable, and
rests upon a reasonable foundation, the District Court has jurisdiction . .” Smith v.
Kansas City Tl`tle and Trust Co., 255 U.S. 180, 41 S. Ct. 243, 65 L. Ed. 577 (1921)
(Court upheld federal jurisdiction over the case because the state claim embraced a
federal question). A case may “arise under” federal law for purposes of 28 U.S.C. § y
1331 even When a state cause of action is asserted, however, “Where the vindication
of a right under state law necessarily turns on some construction of federal law.”
Franchise T ax Ba'. of Cal. v. Constr. Laborers Vacation Trustfor Southern Cal.,
463 U.S. 1, 27-28, 103 S. Ct. 2841, 77 L. Ed. 2d 420 (1983). The question then is
Whether plaintiff’s “right to relief under state law requires resolution of a substantial
question of federal law in dispute.”

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Notice of Removal
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Case 2

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7. Similarly, to bring a case within (arising-under jurisdiction), a right or
immunity created by the Constitution or laws of the United States must be an
element, and an essential one, of the plaintiff’s cause of action. The right or
immunity must be such that it will be supported if the Constitution or laws of the
United States are given one construction or effect, and defeated if they receive
another. Gully v. First Nat’lBank (U.S. 1936) 299 U.S. 109, 112, 112, 57 S. Ct. 96,
97.

8. Venue is proper in this district under 28 U.S.C. §1441(a) because this
district and division embrace the place where the removed action has been pending

9. Defendant will promptly file a copy of this notice of removal with the
clerk of the state court where the action has been pending.

C. JURY DEMAND

10. Plaintiff demands a jury in the state court action. Defendant demands a

jury trial.
D. CONCLUSION
11. Defendant respectfully requests removal of this action as it involves a

Federal question under the Fair Debt Collection Practices Act, 15 U.S.C. §1692.
DATED: November 14, 2012 CARLSON & MESSER LLP

By

 

W. Kamlnski

J. race Felipe

Attorne s for Defendant,

MIDLA CREDIT MANAGEMENT,

INC.

Notice of Removal
07297.00/189059

 

Case 2:12-cv-09743-I\/|WF-I\/|AN Document 1 Filed 11/14/12 Page 4 of 13 Page |D #:9

EXHIBIT “A”

Case 2:12-ov-09743-l\/|WF-l\/|AN Dooument 1 Filed 11/14/12 Page 5 of 13 Page |D #:10

 

 

 

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rAv/so AL DEMANDADO): §`~`H,_E [') .¢
MIDLAND CRF_.DJT MANAGEMENT INC., and DOES 1-25. '
<,_ ~‘ - ’ \ SEPZ'?ZBIZ
iron ARE aetna ssqu BY PLA\NT!FF'. ,_,._,¢,,,_\§__.L ,' i,, mm
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NOT|CE! Yau have been sued. The court may decide against you w!:hou! your being heard union ycu respond within 30 days. Read misinformation
belcw.

You have 30 CALENDAR Y.`JAYS after this summons and looal papers aro served en you to file a written response at this court and have a copy
served on ‘..hn ptatntitl. A letter cr phone cail will not protect you. Your written response mvs'. be ln proper legal .‘c.*m ll )‘ou want the court to hear your
cass. Tnore may be a court form that you can use for your rusponse. You can .'mo these court forms and more intormation at the Catitomla Courts" ' ' ~ ~
Onllne Sott-He:'p Cuntar (va.couninfo.ca.go'.'/sellho.',o), your county tav.- librar,~. ortho courthouse nearest you. ll you cannot pay the filing fee. ask
inc court clerk for a lee waiver torm. li you do not tile your response on tlms, you may lose the case by deiau‘=t, and your weges. money_ and property
may be taken without further warning irorn ina cou:\.

There are other legal requirements ‘/ou may want to cali an attorney right eway. |! you do no\ know an nnornay, you may want to coil an attorney
referrat sewioe. l! you cannot afford an attorncy, you may be eitgihte ior tree legal services from a nonprom legal services program Yo‘.r can locate
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(w-vw.courTinfo.s'a.gov,'seil'nor’p). or by contacting your local court or county bar association NOTE'. Tne mun has a statutory lien for waived fees an:'
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{Elnombr\a y dr`ro¢>c."¢n de la cortez as): Sup€rlor Court of V€mura °"`
800 South Vicrorta Avenue
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The name, address. and telephone number of plaintiffs a‘.'orr:ey, cr platntilf without an attorney, is: _
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"'*" r\/.iot-i/-\EL t:)_ PLANET
DA.TE: Clerk. 'oy DEBRA RAMO$_ . Dep\.'ty
(Fecha) *//;):“,7"'1 fz/ (.'>`scretsr."c) (Adjun!o)
(Farproof or service of this summonsl use Proof ot Sorvioe ot Sun‘.mons (form FCS-O?(>).)
(Fara pruaoa de enrrege de csra citation use el formulario Proot ot Sc:vioo ot Summor\s. (FOS~010)).
NOTICE TO THE PERSON SERVED: ¥ou are served
1. l:/`_j as an tndivtduai defendant
2. [:] as the person sued under the t'zctitious name of {specr‘/y):

3, :X] cr\ behal.’cf(speci!y): M§DLAND CRED§T MANAGEMENT, iNC

 

 

 

 

 

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Case 2:12-cv-09743-I\/|WF-I\/|AN Document 1 Filed 11/14/12 Page 6 of 13 Page |D #:11

 

 

 

 

 

 

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l Todd l\’l. Frieclman (2] 6752~) y F!“ED
2 Law Orn¢es Or"r<>dd M. Friedman, P.c. SEP 2 7 2012
369 S. Dohen_y Dr. #415 '
3 Bcverly Hills, CA 902-ll 4 ;"_’ZE;%‘PPLANET
Phone: 877_206-4741 B""-' ' ` ‘ .w.' `W e'émorpm-'/
"' Fax: 866-633-0228 DEBRA RAMO¢ ` '
5 tfriedman@ntfox'neysforconsumers.com "
Attorney for Plainiiff
6
7 SUPERIOR COURT GF THE STATE OF CALIFORNIA
FOR THE COUNTY OF VENTURA
3 L-IMITED JURJS_DICTION
M _.»--
9 ) Case No. 56-20rz-oorrzsor_e:oL~§OjW/\ `
tc )
HILARY JONES, aud'indiv§dual, ) COMPLAI`:\€T FOR \"IOLA’I`ION
" ) or ROSENTHAL FAIR mem _
12 Plaintif`f, ) COLLECTION PRACTICES ACT AND
) FEDERAL FAIR DEBT COLLEC'I'ION
13 vs. ) PRAC'I`ICES AC'I`
)
14 MIDLAND CREDIT MANAGEMENT, ) (Amount not to exceed 810,000)
15 INC., and DOES 1-25_ )
) t. Violation of Roseothal Fair Debt
15 Defendant ) Collcction Pracrices Act
_ ) 2. Violation of Fair Debt Collection
]' ) Practices .Act
18
‘9 I. INTRODUcTrON
20 l. This is art action for damages brought by an individual consumer for Defendant’s
21 ' _ . ~ .
l _\_/,i.oleii_pns, of t’n'e Rosonzhal Ea_ir Debt Collection~ Practices Act', Cal~-Ci\' Code~¢-§‘l?ZS-,.et seq.
22
21 (hcreinafter “RFDCPA") and the Fair Debt Coi!ecilon Practioes f\.otq 15 U.S.C. §1692, el seq.
24 (here`mafrer “FDCPA"], both of which prohibit debt colleczors from engaging in abusi"re,
25 deceptive, and unfair practices
25
27
28
l II. PARTIES
Complaint » l

 

 

 

 

 

Case 2:12-cv-09743-I\/|WF-I\/|AN Document 1 Filed 11/14/12 Page 7 of 13 Page |D #:12

l 2. Plaintiff, l'lilary Jones ("Plaintlff"), is a natural person residing in Ventura
county in the state of California, and is a “consumer” as defined by the FDCPA, 15 U.S.C.~
§1692a(`3) and is a “debtor” as defined by Cal Civ Code 51788.2(}\.).

3. At all relevant times herein, Defendant, Midland Credit Management, lnc.,
a (“Dcfendant Asset”) was a company engaged by use or" the mails and telephone, in thc

7 business of collecting a debt from Plaintili` which qualifies as a “dcbt,” as defined by 15 U.S.C.

m

§16923(5), and a “consumer dcbt,” as defined by Cal Ci\' Code §1788.2(0. Defendant Assel
regularly attempts to collect debts alleged to be due anothet, and therefore is a “del)t eo`tlector”
as defined by the FDCPA, 15 U.S.C. §1692a(6), and RFDCPA, Cal Civ Code §17S8.2(c).

12 tn. FACTUAL`ALLEGATIONS

13 4. At various and multiple times prior to the filing of the instant complaint,

including within the one year preceding the filing of this complaint, Defendant contacted

15
m Plaintit`f in an attempt to collect an alleged outstanding debt
n 5. On or about .lune 06, ZC)l?., Defendant contacted Plaintist mother on her

13 business line at (805) 966~70!2, in connection with an attempt to collect an alleged outstanding

 

 

 

19 debt. Plaintift’s mother spoke with "'Marcus Seagle“, an employee ot" Defendant, who falsely
so
represented that authorization was received from Plaintii`t" to contact ?laintii`f’s mother.
zt ,
27 5 .~- ~'-~6. On or about .lunc 07, 2012, Defendant again contac~ied"Plainiift"‘s mother on her

23 business line at (805) 966~7012, in connection with an attempt to collect an alleged debt
34 bearing Care Credit Account No. 6019183064029366. Plaintii`i"s mother spoke with “Stan
Anderson”, an employee of Defendant, and informed Defendant ofthe wrong contact

information and to stop calling

Complaint - 2

 

 

 

 

Case 2:12-cv-09743-I\/|WF-I\/|AN Document 1 Filed 11/14/12 Page 8 of 13 Page |D #:13

' 7. Defendant contacted Plaintiff` at (805) 966-7012 at times and places that were

|\)

‘ known to be inconvenient and with such frequency as to constitute harassment under the

\»l

circumstances, including but not limited to, multiple calls per week, and calling prior to the due
date of the payments towards the alleged debt.
5 8. Defendant's conduct violated the FDCPA and the RFDCPA in multiple ways,

7 including but not limited to:

a
Engaging in conduct the natural,_c_ons_,equence~»of_.which is to
. 9 harass, oppress, or abuse Plaint'il"f, 'inclu'ding... (§ 169?.d))
to
l l L."sing false representations and deceptive practices in connection
with collection of an alleged debt from Plaintil"f, including (§
ig 1692€(10)
la
4 ln connection with an attempt to collect an alleged debt from
l Plaintifi`, contacting a third party for purposes other than
15 obtaining location information (§ l692b & § l692c(b))
l6

ln connection with an attempt to collect an alleged debt from
17 Plaintif`f, providing the identity of Defendant to a third party
without such information being expressly requested (§ 169?.b(l)

 

 

 

 

 

13
& § 16920(b)};
19
`“'° ` Disclosing to a third party the existence of the debt allegedly
21 , owed by Pialnttn'(§ 1692b(2) &§ taszc(b»
1 .._4._.- -»-M.. .:4 ~- \- ~ -t .'~'.»§'$‘;'. "~"2 ',,‘_"=-:"~f.":.."~"`"M".'_-' "v"w~ ' - s
22 . , .

Communicating with a single third party more than once in

'-’3 connection with an attempt to collect art alleged debt from

P)atmtn'(§ 1692b(3) &§ 1692c(b));

25 9. As a result of the above violations of the FDCPA and RFDCPA, Plain*.iff`
26 suffered and continues to suffer injury to `Plaintiff’s feelings, personal humiliation,

embarra_ssment, mental anguish and emotional distress, and Defendant is liable to Plaintit`f for

Plaintil`i`s actual damages statutory damages, and costs and attorncy’s fees.

 

Complaint - 3

 

 

Case 2:12-cv-09743-I\/|WF-I\/|AN Document 1 Filed 11/14/12 Page 9 of 13 Page |D #:14

l COUNT l: VIOLATIO:\' OF ROSENTHAL
FAIR DE-B'l` COLLE,C'I`ION PR_ACTICES AC'I`

 

3 n iO. Pla`mtift' rcincorpora€es by reference all of the preceding paragraphs

4 `: l. 'l`o the extent t':tat Defendant’s actions counted abovc, violated the RI~`DCPA,

s those actions were done knowingly and willfully

: P`R.-\VER F()R REL!EF

s W'r’.EP.EFORE, Plaintift` respectfully prays that jndgment bc entered against Defendant

9 for t`ne l`oilo\v§ng:

 

 

m A. Ac'.ual damagcs;
n 5 Statutory damages for \'riliful and negligent violat€ozts;
"2 ` C. Costs and reasonable anomcy’s fees,
33 D l~`o: such other and further rclici`as may b: just and proper.
" cout\'r itt vtoLATioN or mm near
n COLLECT!ON PRACTICES A(;I
to 12_ Plai:\.tit'f reincorporates by reference all ol` ti'.:: preceding paragraphs
13
PRAYER FOR RELIEF
19

\VHEREFORE, Plaintif`." respectfully mays that judgment be entered against Defendant
21 _ fort'm: follo\ving:
23 A. Actual damages;

B Statutorj¢ damages;
24
C. Costs and reasonable atiomc ’s fees; and
)' ,
D For such other and further rcliefe$ may `ae just and prcper.

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Complaint - 4

 

 

 

 

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Case 2:12-cv-09743-I\/|WF-I\/|AN Document 1 Filed 11/14/12 Page 10 of 13 Page |D #:15

EXHIBIT 1

Case 2:12-cv-09743-I\/|WF-I\/|AN Document 1 Filed 11/14/12 Page 11 of 13 Page |D #:16

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CBRPORAT|ON SER\(|CE COMPANY`

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. . T `tt lN b : 10435636
Notice of Service of Process 'aS§{§`P?oCe“s';`e§=rl0/16/2012

Primary Contact: Tanya Flores
l\/lidland Credit i\/lanagement, lnc.
3111 Camino del Rio North
Suite 1300
San Diego, CA 92108

 

Copy of transmittal only provided to: i\/lal'ie BOla
Sany Chay
Entity: l\/lid|and Credit l\/lanagement, inc
Entity lD Number 1682419
Entity Served: l\/lidland Credit i\/lanagernent, lnc.
Title of Action: Hilary Jones vs. l\/lidland Credit l\/lanagment, lnc.
Document(s) Type: SummOnS/Comp|ain't
Nature of Action: Other
C°ul'f/AQ€HCV¢ \/entura County Superior Court, Califomia
Case/Reference No: 56-2012-00425076-CL~PO-VTA
Jurisdiction Served: California
Date Served on CSC: 10/15/2012
Answer or Appearance Due: 30 Days
Originally Served On: CSC
How Served: ' PerSOnal ServiCe
Sender lnformation: Todd l\/l. Friedman

877-206-4741

information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). lt does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

To avoid potential delay, please do not send your response to CSC
CSC is SAS70 Type ll certified for its Litigation Management System.
2711 Centervi||e Road V\/i|mington, DE 19808 (888) 690~2882 l sop@cscinfo.com

Case 2:1

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2-cv-09743-|\/|WF-|\/|AN Document 1 Filed 11/14/12 Page 12 of 13 Page |D #:17

PROOF OF SERVICE
STATE OF CALIFORNIA )
) ss.
COUNTY OF LOS ANGELES )

I am employed in the County of Los Angeles, State of California.

I am over the age of eighteen years and not a party to the within action. My business address
is 5959 W. Century Blvd., Suite 1214, Los Angeles, CA 90045.

On November 14, 2012, l served the foregoing document(s) described as: CIVIL COVER
SHEET; CERTIFICATION AND NOTICE OF INTERESTED PARTIES; NOTICE OF
REMOVAL; DECLARATION OF SANY CHAY on all interested parties in this action by
placing a true copy thereof enclosed in a sealed envelope addressed as follows:

SEE ATTACHED SERVICE LIST

[X] BY MAIL: I sealed such envelope(s) and placed it (them) for collection and mailing on this
date following the ordinary business practices of Carlson & Messer LLP. l am "readily familiar"
with the business practices of Carlson & Messer LLP for collection and processing of
correspondence for mailing with the United States Postal Service. Such correspondence would
be deposited with the United States Postal Service at Los Angeles, California this same day in
the ordinary course of business with postage thereon fully prepaid.

[ ] ELECTRONIC MAIL: Based on Court order or an agreement of the parties to accept service
by e-mail or electronic transmission, I caused the said documents to be sent to the persons at the
electronic mail addresses listed below (see attached service list). l did not receive within a
reasonable time after the transmission, any electronic message or other indication that the
transmission was unsuccessful

[ ] PERSONAL SERVICE BY HAND- I personally served document to address stated on
POS Service List.

[ ] BY FACSIMILE- I transmitted via telecopier machine such document to the offices of the
addressees

[ ] (STATE) - l declare under penalty of perjury under the laws of the State of California that
the above is true and correct.

[X] (FEDERAL) - l declare that l am employed in the office of a member of the bar of this court
at whose direction the service was made.

Executed this 14th day of November 2012 at Los Ange s, California.

 

PROOF OF SERVICE

 

Case 2:1Q-cv-09743-MWF-MAN Document 1 Filed 11/14/12 Page 13 of 13 Page |D #:18

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SERVICE LIST
Jones. Hilarv v. Midland Credit Management. Inc.
File No.: 07297.00

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Nicholas J. Bontrager

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